           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 1 of 18 Page ID #:2267



                     1   ALLAN E. ANDERSON (SBN 133672)
                         allan.anderson@arentfox.com
                     2   DAVID BAYLES (SBN 208112)
                         david.bayles@arentfox.com
                     3   ARENT FOX LLP
                         555 West Fifth Street, 48th Floor
                     4   Los Angeles, CA 90013-1065
                         Telephone: 213.629.7400
                     5   Facsimile: 213.629.7401
                     6   ROSS J. CHARAP (SBN
                         (Pro Hac Vice)
                     7   ross.charap@arentfox.com
                         ARENT FOX LLP
                     8   1301 Avenue of the Americas, 42nd Floor
                         New York, NY 10019
                     9   Telephone: 212.484.3900
                         Facsimile: 212.484.3990
                    10
                         Attorneys for Defendant and
                    11   Counterclaimant SOPHIA A. MODU
                    12
                                               UNITED STATES DISTRICT COURT
                    13
                                             CENTRAL DISTRICT OF CALIFORNIA
                    14
                    15   NOTORIOUS B.I.G. LLC, a Delaware          Case No. 19-cv-1946-JAK-KS
                         limited liability company,
                    16                                             MEMORANDUM OF POINTS AND
                                      Plaintiff,                   AUTHORITIES IN SUPPORT OF
                    17        v.                                   OPPOSITION TO PLAINTIFF’S
                                                                   MOTION FOR PRELIMINARY
                    18   Yes. Snowboards, Nidecker Group, Chi      INJUNCTION
                         Modu, an individual, Nidecker US,         [Declarations of Sophia A. Modu,
                    19   Inc., a Washington Corporation,
                         Nidecker SA, a Switzerland                Enechi Modu and Ross Charap filed
                    20   Corporation, DOES 3-8,                    concurrently herewith and in support
                                                                   hereof]
                    21                Defendant.
                    22
                                                                   Date:        April 18, 2022
                    23   CHI MODU, an individual,                  Time:        8:30 a.m.
                                                                   Judge:       The Hon. John A. Kronstadt
                    24                Counterclaimant,             Courtroom:   10B
                    25        v.                                   Magistrate Judge: Karen L. Stevenson
                                                                   Complaint Filed: March 15, 2019
                    26   NOTORIOUS B.I.G LLC, a Delaware
                         limited liability company,
                    27
                                      Counterclaim-Defendant
                    28
A RENT F OX LLP
                                                                            MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
                         Case No. 19-cv-1946-JAK-KS
   LOS A NG EL ES
                                                                        MOTION FOR PRELIM. INJUNCTION
           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 2 of 18 Page ID #:2268



                     1                                         TABLE OF CONTENTS
                     2
                                                                                                                                       Page
                     3
                         I.     INTRODUCTION ........................................................................................... 5
                     4   II.    STATEMENT OF FACTS.............................................................................. 6
                     5          A.  Legendary Hip Hop Photographer Chi Modu Created Numerous
                                    Iconic Images of Mr. Wallace and Other Hip Hop Artists ................... 6
                     6          B.  Mr. Wallace and His Agents and Successors Allowed
                     7              Commercial Use of Mr. Wallace’s Images by Mr. Modu for
                                    Decades ................................................................................................. 6
                     8          C.  The Parties Have a Licensing History Which Broke Down and
                                    the Instant Action Followed .................................................................. 6
                     9          D.  Mrs. Modu Owns the Copyrights in the Photographs that Are the
                    10              Subject of the Action............................................................................. 7
                                E.  Plaintiff’s New Jersey Right of Publicity Claim Is Merely a
                    11              Thinly Disguised Copyright Claim ....................................................... 7
                    12   III.   ARGUMENT .................................................................................................. 9
                                A.  Plaintiff Cannot Show a Likelihood of Success on the Merits
                    13              Because Its Claim Is Preempted by the Copyright Act ........................ 9
                    14          B.  Plaintiff Cannot Show a Likelihood of Success on the Merits
                                    Because It Has Acquiesced in All of the Subject Uses and the
                    15              Claims Are Barred by Laches ............................................................. 15
                                C.  Plaintiff Cannot Show a Likelihood of Success on the Merits
                    16              Because No Use About Which Plaintiff Complains Is Likely to
                                    Cause Damage to the Commercial Value of Mr. Wallace’s
                    17              Persona ................................................................................................ 16
                    18          D.  Plaintiff Cannot Show Irreparable Harm Absent Entry of a
                                    Preliminary Injunction ........................................................................ 17
                    19          E.  Plaintiff Cannot Show that the Balance of Equities Favors Entry
                                    of a Preliminary Injunction ................................................................. 17
                    20   IV.    CONCLUSION ............................................................................................. 18
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
A RENT F OX LLP
                                                                                                MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                               2         MOTION FOR PRELIM. INJUNCTION
           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 3 of 18 Page ID #:2269



                     1                                          TABLE OF AUTHORITIES
                     2
                                                                                                                                         Page(s)
                     3
                         Cases
                     4
                         Downing v. Abercrombie & Fitch,
                     5
                           265 F.3d 994 (9th Cir. 2001) ................................................................... 10, 11, 13
                     6
                         Dryer v. NFL,
                     7     814 F.3d 938 (8th Cir. 2016) ......................................................................... 13, 14
                     8
                         In re Jackson,
                     9       972 F.3d 25 (2d Cir. 2020) ............................................................................ 13, 14
                    10   John Wright, Inc. v. Casper Corp.,
                    11      419 F. Supp. 292 (E.D. Pa. 1976)........................................................................ 15
                    12   Laws v. Sony Music Entm’t, Inc.,
                           448 F.3d 1134 (9th Cir. 2006) ...................................................................... passim
                    13
                    14   Maloney v. T3Media, Inc.,
                           853 F.3d 1004 (9th Cir. 2017) ...................................................................... passim
                    15
                         McNeil Labs, Inc. v. Am. Home Prods. Corp.,
                    16
                           416 F. Supp. 804 (D.N.J. 1976)........................................................................... 15
                    17
                         Estate of Presley. v. Russen,
                    18      513 F. Supp. 1339 (D.N.J. 1981)................................................................... 15, 16
                    19
                         Prima v. Darden Rests., Inc.,
                    20      78 F. Supp. 2d 337 (D.N.J. 2000)........................................................................ 16
                    21   Statutes
                    22
                         17 U.S.C. § 101......................................................................................................... 10
                    23
                         17 U.S.C. §§ 102 and 103 ........................................................................................... 9
                    24
                    25   17 U.S.C. § 106........................................................................................................... 9

                    26   Copyright Act ............................................................................................. 5, 9, 11, 18
                    27
                    28
A RENT F OX LLP
                                                                                                    MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                                   3         MOTION FOR PRELIM. INJUNCTION
           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 4 of 18 Page ID #:2270



                     1   Other Authorities
                     2
                         H.R. Rep. No. 94–1476 (1976) ................................................................................... 9
                     3
                         Publicity, 92 Notre Dame L. Rev. 1539, 1548 (2017) ............................................. 14
                     4
                     5
                     6
                     7
                     8
                     9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
A RENT F OX LLP
                                                                                               MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                              4         MOTION FOR PRELIM. INJUNCTION
           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 5 of 18 Page ID #:2271



                     1   I.    INTRODUCTION
                     2         Plaintiff Notorious B.I.G.’s (“Plaintiff’s”) motion for preliminary injunction
                     3   must fail for a number of reasons. Plaintiff’s motion is based solely upon its Fourth
                     4   Cause of Action in the First Amended Complaint for alleged violation of New Jersey
                     5   right of publicity common law. See Plaintiff’s First Amended Complaint (“FAC”),
                     6   DKT 32; see also Plaintiff’s Memorandum in Support of Motion for Preliminary
                     7   Injunction, DKT 181 at 7. To obtain a preliminary injunction, Plaintiff must show,
                     8   among other things, a likelihood of success on the merits on its cause of action.
                     9   Plaintiff cannot make the required showing because: (a) Plaintiff’s claim is preempted
                    10   by the Copyright Act, (b) Plaintiff is barred by laches and acquiescence in the subject
                    11   uses, and (c) no use about which Plaintiff complains is likely to cause damage to the
                    12   commercial value of Mr. Wallace’s persona.
                    13         In addition, to obtain a preliminary injunction Plaintiff must also show:
                    14   (d) irreparable harm, and (e) that the balance of equities favor the Plaintiff and the
                    15   injunction. However, Plaintiff will also not be able to meet these requirements. All of
                    16   the images about which Plaintiff complains are iconic photographs by legendary hip
                    17   hop photographer Chi Modu. Mr. Modu was the owner of the copyrights in the photos
                    18   until his recent death and now his widow defendant Mrs. Modu is the owner. The
                    19   display and sale of the subject iconic photos are increasing the value of Mr. Wallace’s
                    20   persona—not causing any harm, and they are certainly not causing irreparable harm.
                    21   On the other hand, Plaintiff’s sole purpose and motivation in bringing the right of
                    22   publicity claim in this action is to attempt to control Mrs. Modu’s lawful exercise of
                    23   her copyrights and, if possible, unlawfully obtain the copyrights. Accordingly, the
                    24   balance of equities also clearly favors her and prevents entry of a preliminary
                    25   injunction.
                    26         For all the foregoing reasons, as discussed more particularly below, the motion
                    27   for preliminary injunction should be denied.
                    28
A RENT F OX LLP
                                                                               MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                5       MOTION FOR PRELIM. INJUNCTION
           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 6 of 18 Page ID #:2272



                     1   II.   STATEMENT OF FACTS
                     2         A.    Legendary Hip Hop Photographer Chi Modu Created Numerous
                     3               Iconic Images of Mr. Wallace and Other Hip Hop Artists
                     4         Chi Modu was a renowned Hip Hop photographer since the 1990’s who helped
                     5   legitimize hip hop as an important musical genre and who boosted the careers of many
                     6   rappers, including Mr. Wallace. Sophia A. Modu Declaration (“Modu Decl.”) ¶ 4.
                     7   Modu took an iconic photograph of Mr. Wallace in front of the World Trade Center
                     8   in the 90’s that remains one of the most popular photographs of Mr. Wallace. Modu
                     9   Decl. ¶ 10. Modu also worked with the likes of Tupac Shakur, Snoop Dogg, Puff
                    10   Daddy, Easy E, and Dr. Dre, amongst others during his rise to success. Modu Decl. ¶
                    11   9.
                    12         B.    Mr. Wallace and His Agents and Successors Allowed Commercial
                    13               Use of Mr. Wallace’s Images by Mr. Modu for Decades
                    14         The Wallace Family approved of Modu’s use of Mr. Wallace’s photographs for
                    15   over 20 years and never claimed any rights to the iconic World Trade Center
                    16   photograph. Modu Decl. ¶¶ 11, 33. Mr. Wallace’s family knew of Modu’s licensing
                    17   acts regarding Mr. Wallace’s images since 1996 both in the United States and abroad
                    18   and never once objected to such licensures until this lawsuit. Modu Decl. ¶ 15. Modu
                    19   also owned and operated hiphopimages.com where he offered images of Mr. Wallace
                    20   without objection from Plaintiff. Modu Decl. ¶ 17.
                    21         C.    The Parties Have a Licensing History Which Broke Down and the
                    22               Instant Action Followed
                    23         From 2011 through 2018, Mr. Wallace’s marketing company, Remrylie, Inc.,
                    24   licensed Chi Modu’s photos of Mr. Wallace for three thousand dollars per photo per
                    25   year in 2011, 2013, and 2015. Modu Decl. ¶ 16. Mr. Modu continued to license these
                    26   photos to other parties during the terms of the licenses without objection from
                    27   Plaintiff. Modu Decl. ¶ 17. In 2017, Mr. Modu learned that the licenses he was
                    28   granting for a few thousand dollars per photo of Mr. Wallace were generating
A RENT F OX LLP
                                                                             MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS               6      MOTION FOR PRELIM. INJUNCTION
           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 7 of 18 Page ID #:2273



                     1   hundreds of thousands, perhaps millions, of dollars in revenue for licensees. Modu
                     2   Decl. ¶¶ 18, 19. Upon discovery that his photos were being undervalued, Mr. Modu
                     3   approached the owners of Remrylie in 2018 to discuss the renewal of the 2015 license
                     4   for a fee increase. Modu Decl. ¶ 20. The license expired on December 31, 2018, and
                     5   negotiations for renewal proved to be fruitless as Plaintiff proceeded to file suit against
                     6   Modu in 2019. Modu Decl. ¶¶ 20, 21.
                     7         D.     Mrs. Modu Owns the Copyrights in the Photographs that Are the
                     8                Subject of the Action
                     9         The FAC focuses on Modu’s use of one specific image: Mr. Modu’s 1996
                    10   photograph of Mr. Wallace in front of the World Trade Center towers. See FAC, ¶ 27.
                    11   In addition to the foregoing image, in the motion for preliminary injunction Plaintiff
                    12   complains about three other images of Mr. Wallace photographed by Mr. Modu: (a)
                    13   Mr. Wallace wearing a white jacket (Declaration of Staci Riordan, Exhibit B, DKT
                    14   181-2 at 27); (b) Mr. Wallace “Watch Your Step” (Id., at 30); and (c) Mr. Wallace
                    15   close up known as “Biggie 5001” (Id. at 34). After Chi Modu’s death, Mrs. Modu
                    16   became the lawful copyright owner of all four of these photographs, among others.
                    17   Modu Decl. ¶¶ 14, 26, 37.
                    18         E.     Plaintiff’s New Jersey Right of Publicity Claim Is Merely a Thinly
                    19                Disguised Copyright Claim
                    20         Plaintiff’s FAC and motion for preliminary injunction ostensibly claim a right
                    21   of publicity under New Jersey common law in the four subject photos and violation
                    22   of those rights by defendant. See FAC, DKT 32 ¶¶ 61-70; see also Plaintiff’s
                    23   Memorandum in Support of Motion for Preliminary Injunction, DKT 181 at 7. In fact,
                    24   Plaintiff alleges in the FAC that “posters, prints, and other artwork” that
                    25   display Mr.Modu’s iconic photographs of Mr. Wallace are the “Infringing Products”
                    26   violating Plaintiff’s New Jersey common law rights of publicity. See FAC, DKT 32 ¶
                    27   6 (defining “posters, prints, and other artwork” as the “Infringing Products”) and ¶ 64
                    28   (identifying the subject of the New Jersey common law claim as “Defendants’ use of
A RENT F OX LLP
                                                                                 MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                  7       MOTION FOR PRELIM. INJUNCTION
           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 8 of 18 Page ID #:2274



                     1   Wallace’s image in such a prominent manner on their Infringing Products …”).
                     2   Similarly, Plaintiff alleges in the motion for preliminary injunction that “NFTs” that
                     3   display Mr. Modu’s iconic photographs of Mr. Wallace violate Plaintiff’s New Jersey
                     4   common law rights of publicity. See Plaintiff’s Memorandum in Support of Motion
                     5   for Preliminary Injunction, DKT 181 at 5. The NFTs about which Plaintiff complains
                     6   are merely digital copies of the iconic photographs by Mr. Modu of Mr. Wallace with
                     7   accompanying digital certificates of authenticity. Modu Decl. ¶ 34; Declaration of
                     8   Ross Charap (“Charap Decl.”), Exh. A.
                     9         As demonstrated below, Plaintiff’s attack on the posters, prints, artwork and
                    10   NFTs bearing Mr. Modu’s iconic photographs of Mr. Wallace is not, in fact, a proper
                    11   subject of a right of publicity claim. Rather, Plaintiff’s attack on the subject posters,
                    12   prints, artwork and NFTs demonstrate the true purpose of the FAC and the action: to
                    13   allow Plaintiff to so totally interfere with Mrs. Modu’s lawful exercise of her
                    14   copyrights as to be able to misappropriate them.
                    15         Plaintiff’s true intent is further demonstrated by the actions of Plaintiff’s agent
                    16   Rick Barlowe. Mr. Barlowe contacted Mrs. Modu’s sister-in-law, Enechi Modu, after
                    17   Mr. Modu’s death, urging her to encourage Mrs. Modu to settle. Mr. Barlow informed
                    18   Enechi Modu that it was in her interest to settle the case and threatened that
                    19   Mr. Wallace’s family would continue to take actions to prevent anyone from d oing
                    20   business with Chi or his estate. Enechi Modu Declaration (“Enechi Decl.”) ¶ 12. He
                    21   then stated that in order to end the suit, they would settle for the transfer of Chi’s
                    22   copyrights in all of his pictures of Mr. Wallace to Mr. Wallace’s estate. Id. Of course,
                    23   an order transferring from Mrs. Modu to Plaintiff her copyrights in the subject
                    24   photographs is not an available remedy under the New Jersey right of publicity claim,
                    25   or any of the claims in the FAC. The FAC, the motion for preliminary injunction and
                    26   the actions of Mr. Barlowe are all a bullying effort against Mrs. Modu perpetrated
                    27   through unlawful interference with Mr. Modu’s (now Mrs. Modu’s) copyrights.
                    28
A RENT F OX LLP
                                                                                MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                 8       MOTION FOR PRELIM. INJUNCTION
           Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 9 of 18 Page ID #:2275



                     1          The motion for preliminary injunction should be denied for all the reasons set
                     2   forth below.
                     3   III.   ARGUMENT
                     4          A.      Plaintiff Cannot Show a Likelihood of Success on the Merits
                     5                  Because Its Claim Is Preempted by the Copyright Act
                     6          The Copyright Act (hereinafter the “Act”) grants to copyright owners the
                     7   exclusive right to display, perform, reproduce, or distribute copies of a copyrighted
                     8   work, to authorize others to do those things, and to prepare derivative works based
                     9   upon the copyrighted work. See 17 U.S.C. § 106. “The copyright, in other words,
                    10   gives the owner ‘the right to control the work,’ including the decision whether or not
                    11   to make the work available to the public.” Maloney v. T3Media, Inc., 853 F.3d 1004,
                    12   1010 (9th Cir. 2017), citing Laws v. Sony Music Entm't, Inc., 448 F.3d 1134, 1137
                    13   (9th Cir. 2006).
                    14          “Section 301 of the Act seeks ‘to preempt and abolish any rights under the
                    15   common law or statutes of a State that are equivalent to copyright and that extend to
                    16   works,’ so long as the rights fall ‘within the scope of the Federal copyright law.’”
                    17   Maloney, 853 F.3d at 1010, citing H.R. Rep. No. 94–1476, at 130 (1976). To
                    18   determine preemption, the Court must decide “whether the ‘subject matter’ of the state
                    19   law claim falls within the subject matter of copyright as described in 17 U.S.C. §§ 102
                    20   and 103” and “whether the rights asserted under state law are equivalent to the rights
                    21   contained in 17 U.S.C. § 106, which articulates the exclusive rights of copyright
                    22   holders.” Maloney, 853 F.3d 1010, citing Laws, 448 F.3d at 1138.
                    23          Plaintiff’s motion for preliminary injunction relies solely on its fourth claim for
                    24   relief for violation of New Jersey rights of publicity. Plaintiff summarizes its New
                    25   Jersey common law claim as the “right for protection of a person’s name and likeness
                    26   against misappropriation by others for commercial gain.” See Plaintiff’s
                    27   Memorandum of Points and Authorities, DKT 181 at 7. A claim concerning the “right
                    28   for protection of a person’s name and likeness against misappropriation by others for
A RENT F OX LLP
                                                                                 MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                  9       MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 10 of 18 Page ID #:2276



                     1   commercial gain,” arising from the duplication of entire photographs, falls within the
                     2   test for preemption set forth in Laws and Maloney. See Laws, 448 F.3d at 1137; see
                     3   also Maloney, 853 F.3d at 1011 (photographs “are expressive ‘pictorial’ works to
                     4   which ‘[a] photographer contributes some original elements’ [and] [t]here is also no
                     5   doubt that a photograph is ‘sufficiently permanent’ to permit it to be perceived ‘for
                     6   more than transitory duration.” 17 U.S.C. § 101 [accordingly] [t]he ‘subject matter’
                     7   of the state law claim[s]’—the photographs—therefore appears to fall within the
                     8   subject matter of copyright.”). To meet the test where a copyrighted photograph is at
                     9   issue, “[t]he crux … is deciding when a publicity-right claim seeks to vindicate misuse
                    10   of an individual's likeness, as opposed to merely interfering with the distribution,
                    11   display, or performance of a copyrighted work.” Maloney, 853 F.3d at 1012-13.
                    12         The Court in Maloney examined several cases to determine whether likenesses
                    13   were being misused or whether the right of publicity plaintiff was interfering with
                    14   copyrights. The Court noted that in Downing v. Abercrombie & Fitch, 265 F.3d 994
                    15   (9th Cir. 2001), the publicity-right claim was permitted to proceed because of the
                    16   unauthorized “use of the [plaintiffs’] likenesses” to advertise Abercrombie products,
                    17   and the creation of “t-shirts, exactly like those worn by the [plaintiffs] in the
                    18   photograph, for sale” in Abercrombie's catalog. Maloney, 853 F.3d at 1013, citing
                    19   Downing, 265 F.3d at 1003. Importantly, the court in Maloney noted that “The
                    20   plaintiffs (in Downing) sustained injury to their individual “personas” because their
                    21   likenesses were exploited commercially without their consent … [t]he plaintiffs were
                    22   not seeking to use the right of publicity simply to prevent ‘publication’ of an artistic,
                    23   visual work. Maloney, 853 F.3d at 1013 (emphasis added).
                    24         The analysis of Downing by the Ninth Circuit in Laws is also instructive. The
                    25   Ninth Circuit observed that “Abercrombie went well beyond the mere republication
                    26   of the photograph .... Rather, it published the photo in connection with a broad surf-
                    27   themed advertising campaign, identified the plaintiffs-surfers by name, and offered
                    28   for sale the same t-shirts worn by the plaintiffs in the photo.” Laws, 448 F.3d at 1141
A RENT F OX LLP
                                                                                MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                 10      MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 11 of 18 Page ID #:2277



                     1   (emphasis added). Importantly, the Ninth Circuit indicated that “[Abercrombie] had
                     2   suggested that the surfers had endorsed Abercrombie's t-shirts. Accordingly,
                     3   [Downing] concluded that ‘it is not the publication of the photograph itself ... that is
                     4   the basis for [plaintiffs’] claims, but rather, it is the use of the [plaintiffs’] likenesses
                     5   and their names pictured in the published photograph.’” Laws, 448 F.3d at 1141,
                     6   quoting Downing, 265 F.3d at 1003. In sum, the Ninth Circuit has held that:
                     7             “[The] misuse of an individual's likeness is the ‘basis’ of a publicity-
                     8             right claim when the name or image is exploited in advertising or on
                     9             merchandise. It correspondingly implies that one's likeness does not
                    10             form the basis of a publicity-right claim when “the tort action
                    11             challenges control of the artistic work itself” … or involves “the
                    12             mere republication of the photograph[.]”
                    13   Maloney, 853 F.3d at 14 (emphasis added), citing Laws, 448 F.3d at 1141-42. Stated
                    14   another way, in the Ninth Circuit:
                    15             “[A] publicity-right claim may proceed when a likeness is used non-
                    16             consensually on merchandise or in advertising. But where a likeness
                    17             has been captured in a copyrighted artistic visual work and the
                    18             work itself is being distributed for personal use, a publicity-right
                    19             claim is little more than a thinly disguised copyright claim because
                    20             it seeks to hold a copyright holder liable for exercising his exclusive
                    21             rights under the Copyright Act.”
                    22   Maloney, 853 F.3d at 1016 (emphasis added).
                    23          As set forth above and demonstrated in the FAC and Plaintiff’s Memorandum
                    24   in Support of Motion for Preliminary Injunction, Plaintiff alleges an ostensible right
                    25   of publicity claim, but in truth is merely interfering with Mrs. Modu’s copyrights. All
                    26   of the alleged “Infringing Products” in the FAC are “mere republication[s]” of the
                    27   iconic photographs of Mr. Wallace by Mr. Modu, namely duplicates distributed as
                    28   “posters, prints, and other artwork.” See FAC, ¶ 6 (defining “posters, prints, and other
A RENT F OX LLP
                                                                                  MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                   11      MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 12 of 18 Page ID #:2278



                     1   artwork” as the “Infringing Products”) and ¶ 64 (identifying the subject of the New
                     2   Jersey common law claim as “Defendants’ use of Wallace’s image in such a
                     3   prominent manner on their Infringing Products …”). The principal focus of the motion
                     4   for preliminary injunction is a complaint about “NFTs.” See Plaintiff’s Memorandum
                     5   in Support of Motion for Preliminary Injunction, DKT 181 at 5. The NFTs are merely
                     6   digital copies of the iconic photographs by Mr. Modu of Mr. Wallace with
                     7   accompanying digital certificates of authenticity. Modu Decl. ¶ 34.
                     8         It is beyond dispute that, in the posters, prints, artwork and NFTs, “where
                     9   [Mr. Wallace’s] likeness has been captured in a copyrighted artistic visual work [i.e.,
                    10   Mr. Modu’s iconic photographs] and the work itself is being distributed for personal
                    11   use,” the right of publicity claim is preempted. Maloney, 853 F.3d at 1016.
                    12   Accordingly, Plaintiff’s Motion for Preliminary Injunction must fail as to all of the
                    13   foregoing uses on the basis of copyright preemption.1
                    14         As pointed out in the Motion for Preliminary Injunction, Mrs. Modu controls a
                    15   website, hiphopimages.com, which offers the aforementioned posters, prints and
                    16   NFTs, but it also offers shower curtains and skate board decks. Pages from the
                    17   website are attached as Exhibit B to the Declaration of Staci Riordan. See DKT. 181-
                    18   2.
                    19         The images on the shower curtains and skate board decks are reproductions of
                    20   photographs by Mr. Modu. The only images of Mr. Wallace on those products are on
                    21   pages 27 and 40 of Exhibit B to the Declaration of Staci Riordan (which exact pages
                    22   are duplicated later in the Exhibit). All of the other images in Exhibit B to the
                    23   Declaration of Staci Riordan are images of other hip hop artists and celebrities or
                    24   1
                           There is a second step to the preemption inquiry which is also satisfied here for the
                    25   same reasons listed above. As explained in Maloney, “To survive preemption, the
                         state cause of action must protect rights which are qualitatively different from the
                    26   copyright rights. The state claim must have an extra element which changes the
                         nature of the action.” Maloney, 853 F.3d at 1019, citing Laws, 448 F.3d at 1143.
                    27   Where, as here, there is no use of the subject likenesses, independent of the display,
                         reproduction, and distribution of the copyrighted material in which they are depicted,
                    28   the second step is also met. See Maloney, 853 F.3d at 1019.
A RENT F OX LLP
                                                                               MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                12      MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 13 of 18 Page ID #:2279



                     1   Mr. Modu’s iconic photographs of Mr. Wallace duplicated for distribution on
                     2   posters. The pages of Exhibit B from the website demonstrate Mr. Modu’s legendary
                     3   work as an artist, displaying many of the iconic images he captured. The website was
                     4   Mr. Modu’s website and now it is Mrs. Modu’s website. The website is equivalent to
                     5   an online catalog of a select group of Mr. Modu’s photographs, with different ways
                     6   in which he (and now Mrs. Modu) have authorized that his photographs may be
                     7   duplicated and distributed.
                     8         There is no suggestion on the website that the hip hop artists or their authorized
                     9   representatives are sponsoring either the website or the sales of the shower curtains
                    10   or skate board decks. There is no use of Mr. Wallace’s or another artist’s image to
                    11   advertise either the website, or the sale of the shower curtains or skate board decks.
                    12   Consistent with the law set forth in Maloney, Laws and Downing, the image of
                    13   Mr. Wallace is not being “exploited” on the shower curtain or skate board deck.
                    14   Maloney, 853 F.3d at 1014, citing Laws, 448 F.3d at 1141-1142. Rather, these
                    15   duplications of the entire iconic images by Mr. Modu are merely an “expressive”
                    16   duplication of iconic images for which the Modus own the copyrights. See Maloney,
                    17   853 F.3d at 1017, citing Dryer v. NFL, 814 F.3d 938, 943 (8th Cir. 2016) (“[w]hen a
                    18   right-of-publicity suit challenges the expressive, non-commercial use of a
                    19   copyrighted work, ...that suit seeks to subordinate the copyright holder's right to
                    20   exploit the value of that work to the plaintiff's interest in controlling the work's
                    21   dissemination”) (emphasis added). The true intention of the suit, to control the
                    22   Modu’s rights as the copyright holders, and misappropriate those rights, if possible,
                    23   is set forth above.
                    24         The Second Circuit’s approach in In re Jackson, 972 F.3d 25 (2d Cir. 2020),
                    25   to evaluating copyright preemption of right of publicity claims, illustrates the
                    26   importance of the purpose of the particular claim asserted. The Court concluded that
                    27   a state’s interest in right of publicity claims to protect consumers from deception in
                    28   the commercial marketplace was sufficiently substantial. Id. at 37. Claims that
A RENT F OX LLP
                                                                               MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                13      MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 14 of 18 Page ID #:2280



                     1   “prohibit the sale of goods whose value to consumers consists predominately of the
                     2   unauthorized exploitation of a person’s valuable persona” are sufficiently substantial.
                     3   Id. In other words, “[t]he more substantial the state law interest involved in the suit,
                     4   the stronger the case to allow that right to exist side-by-side with the copyright
                     5   interest, notwithstanding its capacity to interfere, even substantially, with the
                     6   enjoyment of the copyright.” In re Jackson, 972 F.3d at 37-38, citing Rebecca
                     7   Tushnet, Raising Walls Against Overlapping Rights: Preemption and the Right of
                     8   Publicity, 92 Notre Dame L. Rev. 1539, 1548 (2017) (arguing that “a right of
                     9   publicity that furthers the protection of consumers, reputation, or privacy ... [should]
                    10   not be preempted”).
                    11            The Second Circuit then contrasted those substantial rights with “less
                    12   substantial … state law rights,” where “the more the invocation of the state right
                    13   amounts to little more than camouflage for an attempt to exercise the control over the
                    14   exploitation of a copyright, the more likely that courts will find the state law claim
                    15   to be preempted.” In re Jackson, 972 F.3d at 38. The Court cited Dryer, 814 F.3d at
                    16   943, noting that, where a right of publicity claim does not further the “state's interest
                    17   in protecting consumers,” “that suit seeks to subordinate the copyright holder's right
                    18   to exploit the value of [the] work to the plaintiff's interest in controlling the work's
                    19   dissemination” under state law, and is therefore preempted). In re Jackson, 972 F.3d
                    20   at 38.
                    21            In In re Jackson, the plaintiff mentioned an artist’s name to identify him as the
                    22   artist on a song sample, and his use of the sound of the artists’ voice in the defendants’
                    23   mixtape, to which the defendant owned the copyrights. The Court concluded the use
                    24   did not appropriate Jackson’s reputation, prestige, social or commercial standing or
                    25   other values of his name or likeness. In re Jackson, 972 F.3d at 38. Likewise here,
                    26   under the totality of the circumstances presented above, Mr. Modu and now
                    27   Mrs. Modu’s duplication of Mr. Modu’s iconic photographs onto shower curtains
                    28   and skate board decks does not misappropriate Mr. Wallace’s persona: (a) offering
A RENT F OX LLP
                                                                                  MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                  14       MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 15 of 18 Page ID #:2281



                     1   the items with Mr. Modu’s iconic images on Mrs. Modu’s website does not confuse
                     2   consumers; (b) the value of the items is not “predominately” the image of Mr.
                     3   Wallace; and (c) at a minimum, the value of the items derive from the synergy created
                     4   between the iconic image, the legendary photographer and the successful hip hop
                     5   artist who owes the endurance of his legacy, at least in part, to his photographer.
                     6         Accordingly, Plaintiff’s motion for preliminary injunction must also fail on the
                     7   basis of copyright preemption as to the shower curtains and skate board decks on Mrs.
                     8   Modu’s website bearing the reproduction of Mr. Modu’s copyrighted photographs.2
                     9         B.     Plaintiff Cannot Show a Likelihood of Success on the Merits
                    10                Because It Has Acquiesced in All of the Subject Uses and the
                    11                Claims Are Barred by Laches
                    12         Equitable defenses such as laches and acquiescence are defenses to a New
                    13   Jersey common law right of publicity claim. See Estate of Presley. v. Russen, 513 F.
                    14   Supp. 1339, 1351 (D.N.J. 1981). “[P]reliminary injunctive relief has been held barred
                    15   by laches....” Id. at 1351 (citations omitted). “[T]he laches defense is reserved for
                    16   those rare cases where a protracted acquiescence by plaintiff induces a defendant to
                    17   undertake substantial activities in reliance on the acquiescence.” Id., citing McNeil
                    18   Labs, Inc. v. Am. Home Prods. Corp., 416 F. Supp. 804, 809 (D.N.J. 1976); Jenn–Air
                    19   Corp. v. Penn Ventilator Co., 464 F.2d 48 (3d Cir. 1972); John Wright, Inc. v. Casper
                    20   Corp., 419 F. Supp. 292 (E.D. Pa. 1976); Rudolf Callmann, The Law of Unfair
                    21   Competition, Trademarks and Monopolies § 87.3(b) (3d ed. 1969). “The equitable
                    22   defense of acquiescence ‘[a]s distinguished from laches, constitutes a ground for
                    23   denial of relief only upon a finding of conduct on the plaintiff's part that amounted to
                    24   an assurance to the defendant, express or implied, that the plaintiff would not assert
                    25   2
                           The foregoing discussion of copyright duplication of the images onto shower
                    26   curtains and skate board decks anticipates Plaintiff’s reply that those uses are
                         different under Maloney than posters, prints, artwork and NFTs because they are
                    27   “products.” If Plaintiff is successful in making the distinction, Plaintiff’s right of
                         publicity claim, and preliminary injunction request, still fail for all of the other
                    28   reasons set forth in the opposition.
A RENT F OX LLP
                                                                               MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                15      MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 16 of 18 Page ID #:2282



                     1   his trademark rights against the defendant.’” Russen, 513 F. Supp. at 1351, citing Carl
                     2   Zeiss Stiftung v. VEB Carl Zeiss Jena, 433 F.2d 686, 704 (2d Cir.1970).
                     3         Chi Modu began licensing his photos of Mr. Wallace in the U.S. and abroad
                     4   since the 1990s’ without any objection from Mr. Wallace’s family until this lawsuit
                     5   in 2019. Modu Decl. ¶ 15. Modu also licensed Mr. Wallace’s photos to Remrylie, Inc.
                     6   for a period of eight years, during which time it was implied that neither Plaintiff nor
                     7   its’ predecessors or agents were asserting any right of publicity for the photos against
                     8   Modu. Id. ¶ 16. Modu enjoyed a cooperative relationship with the Wallace family up
                     9   until 2018 when Modu asked for renewed terms to the 2015 license of Mr. Wallace’s
                    10   photograph. Id. 18-20. Only following failed negotiations, did Plaintiff begin to assert
                    11   its rights for the first time over Mr. Wallace’s right of publicity and likeness. Id. ¶ 26.
                    12         Accordingly, Plaintiff’s motion for preliminary injunction must also fail for
                    13   laches and Plaintiff’s acquiescence in the subject uses.
                    14         C.     Plaintiff Cannot Show a Likelihood of Success on the Merits
                    15                Because No Use About Which Plaintiff Complains Is Likely to
                    16                Cause Damage to the Commercial Value of Mr. Wallace’s Persona
                    17         As Plaintiff admits, one of the elements Plaintiff is required to prove to prevail
                    18   on a claim for misappropriation of Mr. Wallace’s identity or persona under New
                    19   Jersey common law is the “likelihood that the use will cause damage to the
                    20   commercial value of that persona.” See Prima v. Darden Rests., Inc., 78 F. Supp. 2d
                    21   337 (D.N.J. 2000). Plaintiff has submitted no admissible evidence to support a claim
                    22   that the allegedly infringing uses identified in the motion will cause commercial
                    23   damage to the value of Mr. Wallace’s persona. Section 3.B.4 of Plaintiff’s
                    24   Memorandum relies solely on speculation to support an entirely different conclusion:
                    25   that “Plaintiff has been injured.” Section 3.C. of Plaintiff’s Memorandum, and the
                    26   Wallace Declaration in support, include solely inadmissible conclusory statements
                    27   about alleged “harm to reputation.” Mr. Modu was a legendary hip hop photographer.
                    28   The high quality and reputation of Mr. Modu’s photographs contributed to bolstering
A RENT F OX LLP
                                                                                 MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                  16      MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 17 of 18 Page ID #:2283



                     1   Mr. Wallace’s persona and reputation. Mr. Modu’s photographs of Mr. Wallace, and
                     2   all the uses about which Plaintiff complains, added—and still add—to the commercial
                     3   value of Mr. Wallace’s persona.
                     4         Accordingly, Plaintiff’s motion for preliminary injunction must also fail
                     5   because the subject uses have not and are not likely to cause damage to the commercial
                     6   value of Mr. Wallace’s persona.
                     7         D.     Plaintiff Cannot Show Irreparable Harm Absent Entry of a
                     8                Preliminary Injunction
                     9         Plaintiff also cannot show irreparable harm for all the reasons why it cannot
                    10   show damage to the commercial value of Mr. Wallace’s persona. In addition, as set
                    11   forth above, the only “uses” at issue are reproductions of Mr. Modu’s iconic and
                    12   copyrighted photographs which cannot form the basis for an irreparable harm analysis
                    13   for all the reasons set forth above. Moreover, to the extent the shower curtains or skate
                    14   board decks may be treated differently, which Mrs. Modu denies, Plaintiff does not
                    15   demonstrate with admissible evidence how uses on shower curtains or skate board
                    16   decks, bearing the iconic copyrighted images of Mr. Wallace, cause irreparable harm
                    17   to the Plaintiff. If shower curtain or skate board sales are not preempted, or
                    18   Mrs Modu’s other defenses to infringement fail, the “harm” to Plaintiff would be
                    19   redressable in money damages.
                    20         E.     Plaintiff Cannot Show that the Balance of Equities Favors Entry
                    21                of a Preliminary Injunction
                    22         As set forth above, Plaintiff’s right of publicity claims are suspect. They are
                    23   likely preempted in total. Plaintiff and its predecessors allowed Mr. Modu to use the
                    24   images commercially for over a decade. The parties had a mutually beneficial
                    25   licensing arrangement for several years. Any harm Plaintiff may have suffered from
                    26   a certain use of Mr. Modu’s iconic photographs of Mr. Wallace, since the licensing
                    27   agreement expired, that is not preempted, is redressable in money damages.
                    28   Accordingly, there is little weight to Plaintiff’s “equity” claim. On the other hand,
A RENT F OX LLP
                                                                                MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                 17      MOTION FOR PRELIM. INJUNCTION
          Case 2:19-cv-01946-JAK-KS Document 188 Filed 01/28/22 Page 18 of 18 Page ID #:2284



                     1   Mrs. Modu is the owner of valuable rights in iconic photographs protected by the
                     2   Copyright Act. Plaintiff is anxious to appropriate those rights and its agents have even
                     3   attempted to bully Mrs. Modu for them. Modu Decl. ¶¶ 29,30; Enechi Decl. ¶¶ 12,14.
                     4   The balance of equities therefore weighs against entry of a preliminary injunction.
                     5   IV.   CONCLUSION
                     6         For all the foregoing reasons, Mrs. Modu respectfully requests that the Court
                     7   deny Plaintiff’s motion for preliminary injunction.
                     8
                     9   Dated: January 28, 2022                   ARENT FOX LLP

                    10
                    11                                         By:       /s/David G. Bayles
                                                                 ALLAN E. ANDERSON
                    12                                           DAVID G. BAYLES
                                                                 ROSS J. CHARAP
                    13                                           Attorneys for Defendant and
                                                                 Counterclaimant SOPHIA A. MODU
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
A RENT F OX LLP
                                                                               MPA ISO OPPOSITION TO PL’S
ATTO RNEY S AT LAW
   LOS A NG EL ES
                         Case No. 19-cv-1946-JAK-KS                18      MOTION FOR PRELIM. INJUNCTION
